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lN THE UN|TED STATES DlSTFHCT COURT
FOF{ THE WESTERN DlSTFHCT OF TENNESSEE:FS RUS “'l PH 12 33
WESTEF{N DlVlSlON

 

 

UN|TED STATES OF AlVlEFliCA,
Plaintitf,

VS.
CR. NO. 05-20241-B

RICHARD Fl. VALENZUELA,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 With a
report date of Mondav, Aucrust 29. 2005, at 9:30 a.m., in Courtroom 1. 1'ith Floor of the
Federa| Building, Nlemphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need for a spe dy tria|.
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UNITED sTATE D"ISIC COURT - WESTERN D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20241 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

